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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                      )
                                              )
       v.                                     )       Criminal No. 11-10187-PBS
                                              )
ALDO FERNANDO                                 )
GUERRERO-CLAVIJO,                             )
                                              )
       Defendants.                            )

                       UNITED STATES’ OPPOSITION TO PRO SE
                        MOTION PURSUANT TO 28 U.S.C. § 2255

       The United States respectfully submits that the pro se motion filed by petitioner Aldo

Fernando Guerrero-Clavijo, a.k.a. “Rolo” (“Guerrero”) should be denied without the need of an

evidentiary or further hearing.

                                         Procedural History

       On November 25, 2011, a federal grand jury in the District of Massachusetts returned an

indictment charging Guerrero and 19 co-defendants with multiple drug trafficking and money

laundering violations. Guerrero was charged with money laundering conspiracy, in violation of

18 U.S.C. §1956(h) (Count 1); conspiracy to import cocaine and to distribute and manufacture

cocaine for unlawful importation, in violation of 21 U.S.C. §§963, 962, 959(a), and 960(b)(1)(B)

(Count 2); international money laundering and aiding and abetting, in violation of 18 U.S.C.

§§1956(a)(2)(B)(i) and 2 (Counts 4-6, 8-9, and 11-12); and money laundering, in violation of 18

U.S.C. §1956(a)(1) (Counts 13-16).

       On July 12, 2013, Guerrero pled guilty to Counts 1-2, 4-6, 8-9, and 11-16 of the

indictment. On January 21, 2014, the court sentenced Guerrero to 144 months’ imprisonment

and three years of supervised release.
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       On September 19, 2014, Guerrero filed a direct appeal with the First Circuit challenging

his sentence on the grounds that he should not have received a role in the offense enhancement

and that he received disparate sentence as related to other similarly situated defendants. The First

Circuit issued a Judgement on March 12, 2015, denying Guerrero’s appeal and affirming his

conviction and sentence.

       On July 13, 2015, Guerrero also filed a motion pursuant to Amendment 782. The court

denied the motion on November 16, 2015. Guerrero took a pro se brief to the First Circuit which

was denied on June 26, 2016.

       Guerrero filed the instant § 2255 petition on June 1, 2016 (Doc. 908 and 909).

                                     Brief Factual Overview

       Guerrero became a primary target of a multi-year-long undercover investigation by the

Drug Enforcement Administration (“DEA”) into the laundering of millions of dollars of drug

proceeds in the United States and Europe by a Colombian drug cartel known as “la Oficina de

Envigado.” The investigation revealed that Guerrero would arrange for couriers holding the

organization’s drug money in the United States, including Massachusetts, to deliver the money to

individuals who he believed to be money launderers, but in fact were DEA undercover agents.

Guerrero also provided the bank accounts to the undercover agents through which the money

was laundered back to Colombia through the black market currency exchange – money exchange

businesses in Colombia and Venezuela – as well as other businesses and financial institutions in

a manner designed to conceal the ownership of the drug money and illicit nature of the funds.

Guerrero was ultimately responsible for delivering the laundered drug money to the owners of

the narcotics.

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       Between at least February 2008 and May 2011, the DEA uncovered and developed

substantial evidence of Guerrero arranging money laundering transactions and attempting to

import hundreds of kilograms of cocaine into the United States. In particular, numerous recorded

telephone and internet communications revealed that Guerrero: (1) arranged the exchange of

drug money from couriers holding his cartel’s drug money in the United States to individuals he

thought were money launderers (but who in actuality were DEA undercover agents); (2) directed

these presumed money launders to deposit the money in bank accounts he obtained and provided

them, through which the money would be laundered back to Colombia via the country’s black

market currency exchange; and (3) ensured the delivery of the laundered drug money back to the

owners of the narcotics. On at least 44 different occasions over the next three years, Guerrero

orchestrated the pick-up of drug money across three continents and provided the bank accounts

to deposit the money so it could be laundered through Venezuelan and Colombia currency

exchange markets and, in total, was involved in the laundering of at least $14 million in proceeds

from drug trafficking.

       During this same time period, Guerrero also attempted on numerous occasions to broker

the sale and importation into the United States of large quantities of cocaine. In 2009, Guerrero

arranged for an associate to meet with an undercover agent, after having instructed the associate

as to what deals it was possible to make. On separate occasions in 2010, Guerrero offered to

organize the sale of hundreds of kilograms of cocaine in Houston, Texas, in Colombia. The

following year, he delivered and arranged payment for a kilogram sample of cocaine in an

ongoing effort to negotiate the sale and importation of over 1,000 kilograms of cocaine.




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                                          Sentencing

A.     The Presentence Report

       The Probation Office determined that Guerrero’s Total Offense Level (“TOL”) was 39,

which was derived from the following calculations:

             a base offense level of 28 under USSG §2S1.1(a)(2) and USSG
              §2B1.1(b)(1)(K) because Guerrero was accountable for at least $12
              million in laundered funds;

             an increase of four levels under USSG §2S1.1(b)(2)(C) because
              Guerrero regularly engaged in laundering funds over an extended period
              of time;

             an adjustment of four levels under USSG §3B1.1(a) because
              Guerrero was an organizer or leader of a criminal activity that
              involved five or more participants or was otherwise extensive;

             a reduction of three levels under USSG §3E1.1(a) and (b) for
              acceptance of responsibility.

[PSR ¶¶255-263]. Guerrero’s TOL of 39 and Criminal History Category (“CHC”) of I yielded

an advisory Guidelines sentencing range (“GSR”) of 262 to 327 months. [PSR ¶311].

       Guerrero’s CJA court appointed attorney objected to the Probation Office’s determination

that he merited an organizer or leader enhancement, asserting that he was an independent

contractor who was foolishly willing to run the risks involved in international money laundering

and that no role-in-the-offense upward adjustment was warranted. [PSR, Def. Obj. #65]. The

Probation Office responded that Guerrero merited the adjustment because he arranged for

couriers holding the drug money in the United States to deliver the money to individuals he

believed to be money launderers; provided the bank accounts to the undercover agents through

which the money was laundered back to Colombia through the black market currency exchange;

and was ultimately responsible for delivering the laundered drug money to the owners of the
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narcotics.

       The government, for its part, argued in a sentencing memorandum that a three-level

adjustment for being a manager or supervisor of criminal activity was appropriate. [S.App.100].

Although the government noted that the Probation Office’s recommendation that Guerrero

receive a four-level adjustment for being an organizer or leader was “difficult to dispute given

Guerrero’s central role in the investigation and his apparent control over several other criminal

participants,” it also noted that during the evidentiary hearings, Trooper Cepero testified that the

nature of the organization was more akin to a linear network than a hierarchical organization,

where the person in charge of the money laundering contract varied.       For this reason, the

government argued that a three-level adjustment for being a manager or supervisor was merited.

B.     The Evidentiary Hearing

       The district court conducted an evidentiary hearing on October 2, 3, 4, and 22, 2013. The

principal witness at the evidentiary hearing was Massachusetts State Police Trooper Jaime

Cepero, who acted as an undercover agent in this case while working as part of a DEA task

force. Cepero’s role was to receive drug money that was to be laundered, enter that money into

the banking system, and then deliver it into bank accounts provided by the brokers or individuals

who were seeking to launder the drug money.

       Trooper Cepero testified that during the undercover operation, Guerrero or Carlos

Orlando Zambrano-Briceno, one of Guerrero’s co-defendants, would call him and ask if he had

the capability of picking up a specified amount of cash at a particular location, putting it into the

banking system, and then delivering it into accounts they provided. Cepero also testified that he

met in person with Guerrero on four occasions and that, during the one meeting in Bogota,

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Colombia, in December 2010, Juan Carlos Gomez-Preciado, another co-defendant, also was

present. Cepero testified that Guerrero did “[m]ost of the talking” during this meeting and that

Gomez-Preciado would “chime in from time to time” to “agree[] to what Mr. [Guerrero] was

saying and sometimes adding to what he was saying”; in other words, Cepero testified, Guerrero

was the “main person” he was interacting with during the meeting. On cross-examination by

Gomez-Preciado’s counsel, Cepero testified that while he received instructions from Guerrero

and others about setting up and making the wire transfers for the laundered money, but never

received such instructions from Gomez-Preciado. Thus, Cepero testified, when he wired

$2,714.36 through Western Union to Gomez-Preciado, it was Guerrero who asked Cepero to

wire Gomez-Preciado the money, and it was Guerrero who provided Cepero with the information

to make the wire transfer, including providing Gomez-Preciado’s date of birth and address.

C.     The Sentencing Hearing

       The district court convened a sentencing hearing on January 21, 2014. Consistent with

the position it had taken in its sentencing memorandum, the government argued that a three-level

adjustment for being a manager or supervisor was warranted, noting that Guerrero, at a

minimum, had supervised Juan Carlos Gomez-Preciado, who had served as Guerrero’s

bodyguard during the scheme. Guerrero argued that neither a three-level or four-level role-in-

the-offense adjustment was warranted because he had acted as an independent contractor in what

was essentially a flat, non-hierarchical market, and because he had not organized or supervised

any other person during the scheme, including Gomez-Preciado.

       After hearing argument, the district court found that Guerrero merited a three-level

adjustment for being a supervisor of criminal activity, finding that he organized the activity and

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supervised at least one individual – Gomez-Preciado – and likely supervised other individuals as

well. In making that finding, the court stated that it was basing it on the video and tapes from the

evidentiary hearing, and, “as I’m thinking out loud,” was not basing it on what Gomez-Preciado

might have said at his sentencing. Guerrero noted his objection to the three-level adjustment.

        After denying Guerrero’s motion for a downward departure, the court calculated

Guerrero’s TOL to be 38 and his CHC to be I, which resulted in a GSR of 235 to 240 months due

to the statutory maximum penalty for the offenses of conviction. After hearing the parties’

sentencing recommendations and Guerrero’s allocution, the court sentenced Guerrero to 144

months’ imprisonment and three years of supervised release.

                                            Argument

        Guerrero claims his counsel was constitutionally ineffective for the following reasons:

First, Guerrero argues that his counsel failed to challenge the indictment on multiplicity and

duplicity grounds. See Petitioner’s Motion at pg. 20. Second, Guerrero argues that his plea was

not knowingly and voluntary. Id. at pg. 26. Third, Guerrero argues that his counsel was

ineffective in failing to obtain a plea agreement that obligated the government to file a 5K1.1

motion for downward departure. Id. at pg. 28; 68. Fourth, Guerrero argues that his counsel

failed to challenge the money laundering indictment on merger grounds. Id. at pg. 33. Fifth, at

the sentencing phase, Guerrero argues that his counsel failed to object to the amount of drug

money for which he was held accountable (at least $12 million) (Id. at pg. 27) and failed to

persuasively argue that he was not entitled to a three-level role in the offense enhancement. Id.

at pg. 46.




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A.     Legal Standard

       Under the well-known test enunciated in Strickland v. Washington, to establish that he

was denied the effective assistance of counsel in violation of the Sixth Amendment, Defendant

must show (1) that counsel “made errors so serious” that representation fell below “an objective

standard of reasonableness” and (2) “that the deficient performance prejudiced the defense” so as

to “deprive the defendant of a fair trial.” 466 U.S. 668, 687 (1984). In such a motion, a

defendant bears a “very heavy burden.” Campuzano v. United States, 976 F. Supp. 2d 89, 98 (1st

Cir. 2013) (quoting Argencourt v. United States, 78 F.3d 14, 16 (1st Cir. 1996)). In the First

Circuit, “a lawyer’s performance is deficient under Strickland only where, given the facts known

at the time, counsel’s choice was so patently unreasonable that no competent attorney would

have made it.” Id. (quoting United States v. Rodriguez, 675 F.3d 48, 56 (1st Cir. 2012)) (internal

quotation marks omitted).

       A defendant must also overcome a strong presumption that the claimed errors might, in

fact, be considered sound trial strategy. See Matthews v. Rakiey, 54 F.3d 908, 916 (1st Cir.

1995). An attorney’s decisions are to be viewed “not in hindsight, but based on what the lawyer

knew, or should have known, at the time his tactical choices were made and implemented.”

United States v. Natanel, 938 F.2d 302, 309 (1st Cir. 1991).

       Furthermore, the Sixth Amendment does not guarantee Defendant perfect representation.

See Arroyo v. United States, 195 F.3d 54, 55 (1st Cir. 1999) (“[C]ounsel is not incompetent

merely because he may not be perfect,” because “[i]n real life, there is room not only for

differences in judgment, but for mistakes.”). “Tactical decisions, whether wise or unwise,

successful or unsuccessful cannot ordinarily form the basis of a claim of ineffective assistance.”

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United States v. Ortiz Oliveras, 717 F.2d 1, 3-4 (1st Cir. 1983). Other courts in this circuit have

held that failure to make a downward departure request does not constitute ineffective assistance

of counsel. See De-La-Cruz v. United States, 865 F. Supp. 2d 156, 167 (D.P.R. 2012).

       As further described below, Guerrero cannot maintain his burden on any of these counts.

B.     Guerrero’s Counsel was Not Ineffective for Failing to Challenge the Indictment on
       Multiplicity/Duplicity Grounds

       “An indictment is multiplicitous and in violation of the Fifth Amendment's Double

Jeopardy Clause if it charges a single offense in more than one count.” United States v.

Brandon, 17 F.3d 409, 422 (1st Cir. 1994). “The critical inquiry is whether Congress intended to

punish each statutory violation separately.” Jeffers v. United States, 432 U.S. 137, 155, 97 S.Ct.

2207, 53 L.Ed.2d 168 (1977).

       A related concern is “duplicity,” the joining in a single count of two or more distinct and

separate offenses. United States v. Verrecchia, 196 F.3d 294, 297 (1st Cir. 1999). As the First

Circuit stated, “the prohibition against duplicitous indictments arises primarily out of a concern

that the jury may find a defendant guilty on a count without having reached a unanimous verdict

on the commission of any particular offense.” United States v. Valerio, 48 F.3d 58, 63 (1st

Cir.1995).

       Here, Guerrero counsel was not deficient in raising these issues because the charges in

the indictment were neither multiplicitous nor duplicitous. In each of the substantive money

laundering charges against Guerrero (Counts 4-6, 8-9, and 11-16) the unit of prosecution was the

“financial transaction” which in this case was a “transaction . . . involving the movement of

funds by wire or other means[.]” 18 U.S.C. § 1956(c)(4). The statute further makes clear that “a



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transfer of funds from [one] place to another, by wire or any other means, shall constitute a

single, continuing transaction.” 18 U.S.C. '1956(i)(3).

       As made clear in the indictment and at the evidentiary hearings in this case, the goal of

the laundering transactions was to transfer the value of the drug money from the United States,

and elsewhere, back to Colombia from where the drugs originated. Thus, following the statute,

the indictment charged as single transactions not just the original transfer of U.S. currency to

undercover agents (the money drops), but the subsequent wire transfer of the funds from an

undercover bank account to the account used to launder the drug money either in Venezuela or

the BMPE in Colombia.

       For this reason, there is simply no viable argument that the government charged the same

event more than once. The counts, were thus, not multiplicitous; that is charged multiple times in

different counts. Nor were laundering transactions duplicitous; that is improperly combined into

a single count. Again, the goal was to transfer the value of the drug money to Colombia and

transactions, as the statute provides, were a “single, continuing transaction.” 18 U.S.C.

'1956(i)(3). Each of these separate transfers was related to specific “contrast” to collect and

launder the drug money and were each within a discrete time period. See e.g., United States v.

Hall, 434 F.3d 42, 54 n.4 (1st Cir. 2006) (charging series of related “sub-transactions” as a single

transaction is not duplicitous); see also United States v. Prescott, 42 F.3d 1165, 1166 (8th Cir.

1994) (charging multiple financial transactions as a continuing course of conduct in a single

count is duplicitous); United States v. Stewart, 256 F.3d 231, 239-41 (4th Cir. 2001) (although a

wire transfer comprises two transactions—a deposit and a withdrawal—if the same defendant is




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involved in both steps, he may be charged with conducting a single compound, or continuing,

transaction).

C.     Guerrero’s Cannot Challenge that His Plea was Not Knowing and Voluntary on
       Collateral Attack

       The case law in this area is clear. As a general matter, “a voluntary and intelligent plea of

guilty made by an accused person, who has been advised by competent counsel, may not be

collaterally attacked.” Mabry v. Johnson, 467 U.S. 504, 508, 104 S.Ct. 2543, 81 L.Ed.2d 437

(1984) (cited in Wilkins v. United States, 754 F.3d 24, 28 (1st Cir. 2014)). There are limited

exceptions. For example, “a prisoner can collaterally attack his sentence on the ground that his

guilty plea was not knowing or voluntary if his claim is based on evidence not available to him at

the time of the plea.” Ferrara v. United States, 456 F.3d 278, 289 (1st Cir.2006); see Machibroda

v. United States, 368 U.S. 487, 493, 82 S.Ct. 510, 7 L.Ed.2d 473 (1962). To prevail on this

ground, a defendant must make two showings. “First, he must show that some egregiously

impermissible conduct (say, threats, blatant misrepresentations, or untoward blandishments by

government agents) antedated the entry of his plea.” Id. at 290. “Second, he must show that the

misconduct influenced his decision to plead guilty or, put another way, that it was material to

that choice.” Id.

       In this case, Guerrero has not made allegations of misconduct or newly discovered

evidence. Instead, Guerrero simply avers that his counsel did not adequately explain to him the

consequences of plea. The court, however, went through an exhaustive plea hearing with the

defendant which, prior to the plea, included side-bar conferences to explain the full breadth of

defendant’s situation before pleading guilty shortly before trial.



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D.     Guerrero Had No Procedural or Substantive Right to a Government Plea
       Agreement

       Third, Guerrero argues that his counsel was ineffective in failing to obtain a plea

agreement that obligated the government to file a 5K1.1 motion for downward departure. But

under Supreme Court case law “there is no constitutional right to plea bargain[.]” Weatherford v.

Bursey, 429 U.S. 545, 561 (1977). Nor does Guerrero allege that he would have proceeded to

trial. See Missouri v. Frye, 132 S. Ct. 1399, 1405–06, 182 L. Ed. 2d 379 (2012) (“But the

defendant had not alleged that, even if adequate advice and assistance had been given, he would

have elected to plead not guilty and proceed to trial”). Instead, Guerrero’s sole argument, is that

his counsel should have received a better deal. The argument has no merit. Guerrero pled guilty

on the eve of trial and was the lead defendant in a massive money laundering operation. For this

reason, it cannot be said that his counsel was constitutionally ineffective especially given the fact

that Guerrero received a sentence (144 months) substantially below the advisory guideline range

(262 to 327 months).


E.     There Was No Merger Issue

       Guerrero’s fourth argument is that his counsel was constitutionally ineffective for failing

to argue that the money laundering charges merged the sole drug charge in the indictment, which

alleged in Count Two a conspiracy to import cocaine in the United States. This argument also

misses the mark.

       In United States v. Santos, 553 U.S. 507, 128 S.Ct. 2020, 170 L.Ed.2d 912 (2008), a

plurality of the Supreme Court concluded that the term “proceeds” under § 1956(a)(1) means

“profits” rather than “receipts” in the context of an illegal gambling operations where payments


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to betters (an essential part of the gambling operation) were also charged as substantive money

laundering counts and thus “merged” with the gambling offense without a showing that money

paid in laundering transactions were “profits” and not just “gross receipts.” Id. at 2031. To

make this showing, however, the plurality in Santos also noted that “the prosecution needs to

show only that a single instance of specified unlawful activity was profitable and gave rise to the

money involved in the charged transaction.” Id. at 520. Furthermore, in 2009 a broader

definition of “proceeds” was added to § 1956 to include “gross receipts.” See Fraud Enforcement

and Recovery Act of 2009, Pub L. No. 111–21 § 2, 123 Stat. 1617.

        Here, the laundering charges were entirely separate and apart from the evidence that

Guerrero conspired with others (including Gomez-Preciado and Torres) to import cocaine into

the United States. The money laundering transactions involved various “contracts” to pick up

drug money in the United States and elsewhere and move the value of that money back to

Colombia through either Venezuela or the BMPE. The drug importation conspiracy, in contrast,

involved an attempted effort with Guerrero, Gomez-Preciado, and Torres to sell cocaine to

undercover agents. The two crimes, while related, were entirely separate endeavors. For this

reason, it cannot be said, as Justice Steven noted in Santos, that the laundering transactions were

“mere payments” of necessary expenses. See United States v. Foley, 783 F.3d 7, 16 (1st Cir.

2015); Santos, 553 U.S. at 527, 128 S.Ct. 2020 (Stevens, J., concurring).

        Accordingly, since the argument itself had no merit, Guerrero’s counsel was not

ineffective in not raising the issue.




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F.     Sentencing Issues

       Guerrero’s last remaining arguments pertain to the sentencing phase of the case.

Guerrero argues that his counsel failed to object to the amount of drug money for which he was

held accountable (at least $12 million) and failed to persuasively argue that he was not entitled to

three-level role in the offense enhancement. These arguments truly have no merit.

       First, the evidence regarding the amount of laundering funds was overwhelming and

included hundreds of hours of undercover recorded conversations, wiretaps, e-mail search

warrants, and bank records showing the money down to the penny. While Guerrero’s point that

he only received a fraction of the money laundered as profits, it does not alter the fact that

Guerrero played a substantial role in laundering over $12 million in drug money.

       Second, Guerrero’s argument that his counsel should have prevailed on the argument on

role in the offense is the same argument that he made on direct appeal. That argument was

rejected because while no a hierarchical structure, Guerrero played an advisory role over at least

one other participant in an extensive operation.

       Finally, it should be noted that while Guerrero’s advisory guidelines were a range of 262

to 327 months, Guerrero received a sentence of 144 months, substantially below the advisory

guideline range.




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                                        CONCLUSION

       For the foregoing reasons, the petition filed pursuant to 28 U.S.C. § 2255 should be

denied without the need of any further hearing.


                                             By:       /s/ Neil Gallagher
                                                       Neil J. Gallagher, Jr.
                                                       Assistant U.S. Attorney

Date Submitted: September 19, 2016

                                      Certificate of Service

        I hereby certify that this document filed through the ECF system will be mailed to:

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                                             /s/ Neil J. Gallagher, Jr.
                                             Neil J. Gallagher, Jr.




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